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                  EXHIBIT A
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                                                                            Page 1
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


              ---------------------------------X
              IRA KLEIMAN, as the personal             )
              representative of the Estate of          )
              David Kleiman, and W&K Info              )
              Defense Research, LLC,                   )
                                                       )
                                  Plaintiffs,          )   CASE NO.:
                                                       )
              v.                                       )   9:18-cv-80176-BB/BR
                                                       )
              CRAIG WRIGHT,                            )
                                                       )
                                  Defendant.           )
              ---------------------------------X


                                        CONFIDENTIAL
                         REMOTE DEPOSITION OF AMI KLIN, PH.D.
                       Tuesday, April 21, 2020; 10:04 a.m. EST



              Job No.:      572756
              Pgs.     1 - 246, 263 - 400
              Reported by:     Cindy L. Sebo, RMR, CRR, RPR, CSR, CCR,
              CLR, RSA, Remote Counsel Reporter, LiveDeposition
              Authorized Reporter
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                                                                           Page 24
         1                    Okay.    As of this invoice, the --

         2    what we've marked as Exhibit 2, you had -- well,

         3    let's go to the time sheet because I have some

         4    questions about it.

         5             A.     Please.

         6             Q.     When I say "the time sheet," it's

         7    Page 2 of the document.

         8                    And according to this, you didn't do

         9    any work on April 3rd; is that correct?

        10             A.     Nothing that I deemed to be billable.

        11             Q.     Well, what did you do that you deemed

        12    to not be billable?

        13             A.     I recall that I were -- I was sent

        14    materials by the law firm, and there was a -- a

        15    transcript, and there also were a series of videos.

        16    And those -- and those videos needed to be

        17    downloaded and they needed to be stored in my

        18    computer so that I could watch them subsequently.

        19                    But I did not think this would be a

        20    billable hour.      This was basically just a technical

        21    preparation for starting the work.

        22             Q.     Right.    And I understand that, and I
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                                                                           Page 36
         1             A.     Okay.    So let's start with April 5th.

         2             Q.     Yes, sir.

         3             A.     Those three items -- they're all me.

         4    Maybe I'll read each one and, in that way, it will

         5    make it clear.

         6                    Review and analysis -- now I am on

         7    April 6th.

         8             Q.     Yes, Doctor.

         9             A.     Review and analysis of deposition

        10    transcript -- that is me.

        11                    Organization of analysis of deposition

        12    transcript -- that is me.

        13                    ADI-R -- which stands for Autism

        14    Diagnostic Interview-Revised -- interview and

        15    clinical interview with mother and uncle -- and

        16    uncle -- this is Celine Saulnier --

        17             Q.     Okay.

        18             A.     -- Review and analysis of video

        19    deposition -- that's me.

        20                    ADOS-2 stands for Autism Diagnostic

        21    Observation Schedule, Second Addition, Module 4.

        22    That is me.
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                                                                             Page 57
         1    the pronouns.

         2                    Did I get that right?

         3             A.     Yes.

         4             Q.     How many times have you, in a forensic

         5    setting, been asked to assess how an individual who

         6    meets the criteria for autism spectrum disorder --

         7    how that could impact their presentation in legal

         8    proceedings, such as depositions and court

         9    appearances?

        10             A.     I would say that's a smaller number of

        11    cases, probably between five and six of those adults

        12    that I've mentioned to you.          But sometimes the

        13    questions that I am asked are -- are similar.              I

        14    need to evaluate a person's presentation in other

        15    settings.     And to my mind, it is not very different.

        16             Q.     Did you inquire of the Rivero Mestre

        17    firm why they were asking you Question Number 2?

        18             A.     They've indicated that to me.

        19             Q.     And what did they tell you?

        20             A.     That Dr. Wright's presentation is

        21    unusual, and -- and they would like to better

        22    understand why he presents himself in ways that are
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                                                                           Page 62
         1    called Asperger Syndrome --

         2             Q.     Okay.

         3             A.     -- and in that particular book, I

         4    address many issues regarding presentation, clinical

         5    presentation, treatments, challenges, things of that

         6    nature.

         7             Q.     Which book is that, just so we have it

         8    for the record?

         9             A.     At the -- the very last item on

        10    Page 25.

        11             Q.     With McPartland?

        12             A.     McPartland, Klin and Volkmar, Asperger

        13    Syndrome, Second Edition.

        14             Q.     Does that book have information which

        15    discusses, specifically, court or legal proceedings?

        16                    MS. MCGOVERN:      Objection to the form

        17         of the question.

        18                    THE WITNESS:      You know, I can't

        19         recall if the discussions are specifically in

        20         that domain, but I believe there are some

        21         discussions that encompass that setting, too.

        22                    The presentation of individuals who
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                                                                           Page 63
         1         have an autism spectrum disorder and intact

         2         or high intellect in -- in legal -- not only

         3         legal proceedings but legal challenges has

         4         been of subject of great interest in the

         5         past 10 years or so.        And I have not been

         6         involved directly in writing some of that

         7         information because my scientific career is

         8         focused elsewhere, but I have been able to

         9         support colleagues who wrote books on those

        10         subjects.

        11                    And, therefore, this is a domain

        12         that is -- that is emerging.          And if I may

        13         say, it is unfortunate that most of that

        14         knowledge is enshrined in legal proceedings.

        15         I wish that some of that information

        16         actually came through, in a distilled form,

        17         of course, to inform the public more

        18         generally.

        19                    BY MR. BRENNER:

        20             Q.     Have you ever been qualified as an

        21    expert by any Court to talk about how an individual

        22    who meets the criteria for autism spectrum
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                                                                           Page 69
         1                    BY MR. BRENNER:

         2             Q.     Right.

         3             A.     -- in which you're making that

         4    statement.

         5                    From my statement, I do assess

         6    reliability and validity of informants who provide

         7    me information that I am processing and integrating

         8    into my judgments.

         9             Q.     You did the same thing here, right, in

        10    this case -- or did you?

        11             A.     We certainly assessed collectively,

        12    Dr. Saulnier and I -- we certainly -- it is part of

        13    what we do every day when we conduct an assessment,

        14    that we evaluate the validity and the reliability,

        15    as well as the vantage point of who is providing you

        16    with information.

        17                    And if there is a concern about that,

        18    then one seeks additional sources; one looks for

        19    consistencies; one will -- looks for vantage points.

        20    Some people know somebody better at certain stages

        21    of one's life, things of that nature -- so that we

        22    can create the most robust set of observations about
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                                                                           Page 70
         1    an individual -- an individual's life history as

         2    well as current presentation.

         3             Q.     So let's see what you did here and see

         4    how that worked in this case.

         5                    Okay?

         6             A.     Yes.

         7             Q.     You interviewed no one outside of

         8    Dr. Wright's immediate family, correct?

         9                    MS. MCGOVERN:      Object to the form.

        10                    I'm sorry.      You haven't defined

        11         "immediate family," so I'm going to object

        12         to the form of the question.

        13                    BY MR. BRENNER:

        14             Q.     Okay.    Doctor, let's do this:        Let's go

        15    through every one -- every one and everything you

        16    reviewed and see the context for each.

        17                    Okay?

        18             A.     By all means.

        19             Q.     Okay.

        20                    MS. MCGOVERN:      Andrew, can I -- can I

        21         ask you a quick question before you go into

        22         this line of questioning?
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                                                                           Page 75
         1                     Okay?

         2             A.      Please.

         3             Q.      The only interview you did -- or

         4    interviews you did, because there may have been more

         5    than one, was with Dr. Wright, correct?

         6             A.      Correct.

         7             Q.      Dr. Saulnier interviewed -- strike

         8    that.

         9                     You would agree with -- you would

        10    agree with the idea that if you were doing an

        11    assessment, it would be a less-than-complete

        12    picture if the only person you talked to was

        13    Dr. Wright; is that fair?

        14                     MS. MCGOVERN:      Object to the form of

        15          the question.

        16                     When you say "you," who are you

        17          referring to?

        18                     BY MR. BRENNER:

        19             Q.      You, Dr. Klin.

        20             A.      We conducted this evaluation very much

        21    like we would conduct a gold standard evaluation of

        22    individuals with autism spectrum disorder.              We play
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                                                                           Page 76
         1    different roles in that evaluation; we combine

         2    information.

         3                     And in this case, I basically integrate

         4    all of the information that is generated whereas

         5    the -- the -- the different interviews and things of

         6    that nature.      But the form of the evaluation was

         7    very much the gold standard that we utilize for, in

         8    fact, both clinical and research assessments.

         9             Q.      When you first spoke with Dr. Wright,

        10    did you introduce yourself?

        11             A.      Yes, indeed.

        12             Q.      And who did you tell him you were?

        13             A.      I sent him an e-mail.

        14             Q.      You did?

        15             A.      Yes, I did.

        16             Q.      Did you provide that e-mail to me?

        17             A.      No.    I'm happy to provide it to you.

        18             Q.      Okay.    What did it say?      I would like

        19    you to provide it, but you can do that after.

        20                     Tell me what it said.

        21             A.      Hmm.    I may be able to even read it for

        22    you --
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                                                                          Page 104
         1             Q.       Okay.   In any event, who told you or

         2    Dr. Saulnier to reach out to Dr. Wright's mother,

         3    Dr. Wright's uncle, Dr. Wright's sister and

         4    Dr. Wright's wife?

         5                      MS. MCGOVERN:     Object to the form of

         6          the question.

         7                      THE WITNESS:     When you conduct a

         8          gold standard evaluation of individuals with

         9          autism, there are some things that are really

        10          critical.    And those elements needed to -- I

        11          needed to have those elements in my

        12          gold standard evaluation.

        13                     And those evaluations --

        14          they -- they depend on the direct

        15          observation and they -- and they depend on

        16          information that is provided by other

        17          individuals.

        18                     In a gold standard evaluation, you

        19          will have, typically, the loved ones

        20          providing the information because they're

        21          supposed to know best those individuals.

        22                     In the most common situation, we
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                                                                          Page 105
         1          have a child, and we interview the mother or

         2          the father or both.       Sometimes when you are

         3          evaluating an adult, the problem that you

         4          have is that different loved ones may

         5          actually provide information that fill in

         6          gaps that one, alone, cannot do by

         7          themselves.

         8                     So after Dr. Saulnier had an

         9          interview with Dr. Wright's mother, she told

        10          me that she felt that we needed more

        11          information from the standpoint of a peer,

        12          somebody who could have observed Dr. Wright

        13          in a school setting or in -- in a setting

        14          with other children.

        15                     And -- and that's the reason why I

        16          immediately requested the attorneys to make

        17          the contact with the younger sister, because

        18          we wanted to create as robust a body of

        19          observations as we could.

        20                     And that was the -- that's -- that

        21          is a chronology that I remember well

        22          because, initially, we didn't think about
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                                                                          Page 106
         1          possibility of interviewing the younger

         2          sister.    But on the basis of the first

         3          interview, we felt that we needed more.

         4                     BY MR. BRENNER:

         5             Q.      How did you get to the uncle?

         6             A.      Oh.    The uncle -- we -- one of the very

         7    first questions that I posed to the attorneys was as

         8    follows:      When you conduct a gold standard

         9    evaluation of a person with autism, you need

        10    developmental history; you need history over a

        11    period of time.        That is quite important.        And it is

        12    not that we cannot conduct an evaluation without

        13    that, but one feels much more comfortable having

        14    that information.

        15                     And I told them straight off the bat

        16    that I wanted to get as robust a body of

        17    information, of observations about his developmental

        18    history and subsequent life.          And, therefore, if

        19    there were other adults who were privy to his life,

        20    I would like to engage them.

        21                     And I was told that -- that mother was

        22    very much alive and -- and we could contact her, and
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                                                                           Page 107
         1    that there was also a paternal uncle.             And that

         2    person may be able to contribute some because he

         3    spent quite a bit of time over the course of years

         4    with Dr. Wright.

         5             Q.      Did the attorneys tell you that

         6    Dr. Wright was previously married?

         7             A.      I know that Dr. Wright was previously

         8    married because I read transcripts of depositions.

         9    But needless to say, the very first section of the

        10    Autism Diagnostic Interview-Revised is a description

        11    of the family.       It is very important, when you

        12    conduct that procedure, that you get a sense of

        13    the -- of the family setting, how many siblings, who

        14    are important people in that individual's life.

        15                     And so Dr. Saulnier, for sure, reported

        16    to me that Dr. Wright had been married before.

        17             Q.      Did you or Dr. Saulnier try to contact

        18    Dr. Wright's ex-wife?

        19             A.      No.

        20             Q.      Do you agree that she was someone that

        21    spent some time with him as an adult?

        22             A.      By all means.
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                                                                          Page 123
         1    talk to Ms. McGovern before Friday the 17th?

         2             A.      Yes, I did.

         3             Q.      Okay.    And what did you tell her about

         4    the existence or nonexistence of what ultimately was

         5    produced on Saturday?

         6             A.      I told her that in my work as a

         7    clinical expert witness in legal cases, that

         8    everything that I do towards writing a -- my opinion

         9    in my report -- these are materials that contribute

        10    to my thinking, but I take them in the totality in

        11    order to write the final report.           And that -- it's

        12    been my practice for now since six to eight years

        13    that I don't keep handwritten notes, I don't keep --

        14    I don't keep any of those things once I have an

        15    opportunity to complete my assignment, which is my

        16    final report.

        17             Q.      Did you, in fact, take handwritten

        18    notes when you spoke with Dr. Wright?

        19             A.      Oh, I took copious notes, and I assume

        20    that -- yes, absolutely.

        21             Q.      And you -- you -- after you were

        22    completing your report, you destroyed those notes?
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                                                                          Page 124
         1             A.      Yes, I destroy all of my stickies, all

         2    my copious notes.       Once I have had an opportunity to

         3    create an integration of all of the information, my

         4    goal is to use the totality of that information to

         5    generate my opinions, which are, again, written as

         6    the report.      So I see that as my final work product.

         7             Q.      And Dr. Saulnier -- do you know if she

         8    took notes during her conversations with the mom,

         9    the sister, the uncle and the wife?

        10             A.      Oh, she -- she did.       And she provided

        11    me with all of those notes.

        12             Q.      Were those notes handwritten?

        13             A.      Yes, they were handwritten on the forms

        14    that were completed.        That's usually how you perform

        15    those procedures.

        16                     As you -- as you probably checked,

        17    the -- the -- the binder that I sent you, in which

        18    there are copies of all of the instruments that we

        19    use, there is plenty of room there to -- to write.

        20    And so we write quite a bit.          So --

        21             Q.      But do you know -- go ahead.

        22             A.      -- and she handed in all those
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                                                                          Page 125
         1    materials to me.

         2                     And -- and so once I integrated all of

         3    the information and I was able to write, I guess, a

         4    draft report, because -- but it is my final

         5    product -- work product, I -- I -- it's my practice

         6    that I destroy all of those -- all of those written

         7    notes and stickies and notebooks, anything that has

         8    to do with that.

         9             Q.      Okay.     So let me change topics on you.

        10             A.      Okay.

        11             Q.      We've covered the -- in some detail,

        12    although we'll go back -- we've covered a lot -- we

        13    covered the materials you did review in connection

        14    with your work in this case.          I want to talk to you

        15    about some things you didn't review, okay, and

        16    confirm you did not.

        17             A.      Please.

        18             Q.      Okay.    You -- first of all, was there

        19    any materials -- whether it be depositions, court

        20    proceedings, interview subjects -- anything -- any

        21    materials that you asked to review that you were

        22    told you could not review?
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                                                                          Page 126
         1             A.      No.

         2             Q.      Okay.    Were there any materials that

         3    you wanted to review -- again, as broadly as we can

         4    define "materials" -- that you were unable to

         5    review?

         6             A.      No.

         7             Q.      So as far as you're concerned, you were

         8    satisfied with the -- the compilation of the

         9    materials you reviewed?         And when I say "satisfied,"

        10    I mean satisfied enough to render the opinions you

        11    did.

        12             A.      I was satisfied with -- with the

        13    totality of information that I could rely on in

        14    order to express my opinion.

        15                     I am stating it in this fashion because

        16    we generated a great deal of information through our

        17    evaluation.

        18             Q.      Okay.    Did you -- did you review any

        19    medical records for Dr. Wright?

        20             A.      No.

        21             Q.      Okay.    Did you review -- and I don't

        22    mean to -- maybe there's not a distinction -- let me
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                                                                          Page 138
         1    evaluations in some legal situations that I feel I'm

         2    not interested in doing because it's some criminal

         3    case and, during some kind of sentencing phase,

         4    somebody believes that they need to talk with me.

         5    Those kinds of things are not things necessarily

         6    that I'm interested in doing.

         7                     I like to be of help.        And so I just

         8    wanted to get a sense of what kind of a person he

         9    was, his age, the extent that he was verbal, for

        10    that matter.

        11             Q.      Was he?

        12             A.      Oh, he was very polished in that

        13    lecture.

        14             Q.      Was what you watched on the video, as

        15    far as his persona and his polish, consistent with

        16    how he was in his interview with you?

        17             A.      No, absolutely not.

        18             Q.      So in his interview with you, he was

        19    different?

        20             A.      Well, it was a different context.           So

        21    he was giving what I believe was a public lecture.

        22    And he was basically lecturing, so nobody was
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                                                                          Page 139
         1    talking with him nor was -- nobody was requiring

         2    reciprocity from him.        He was basically lecturing.

         3    He looked very polished.

         4                     When I interviewed him -- it's part of

         5    the procedure that I create a much more challenging

         6    reciprocal social interaction.           That's part of the

         7    procedure because there are many individuals with

         8    autism of high intellect that can present themselves

         9    relatively well if they are talking about the things

        10    they are interested in talking about.             But the

        11    moment that you veer away from that, their

        12    presentation is quite -- is quite starkly different.

        13                     It is also the case that when you're

        14    having a conversation like I'm having with you right

        15    now, we're taking turns and we're following some

        16    rules of conversation.         These are called the

        17    "pragmatic rules of speech."          And I'm -- we're

        18    making sure that we take turns.           We're making sure

        19    that the information that I provide you is relevant

        20    and that we're going to build on what the other one

        21    said beforehand.

        22                     Those things tend to break down with
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                                                                           Page 142
         1    were conducting their interviews in a way that was

         2    -- that they -- that they perceived to be helpful

         3    to Dr. Wright's defense of this case?             Have you

         4    ruled that out?

         5             A.      So as part of any gold standard

         6    evaluation in my field, we need to assess two things

         7    about any informant: reliability and validity.

         8                     Validity is the extent to which the

         9    information that is being conveyed to you aims to

        10    capture the reality of who they're talking about.

        11                     And reliability -- say that -- if I ask

        12    him a similar question or if I had a conversation

        13    that overlapped about a particular topic, that the

        14    information that I got in two or three or four

        15    different instances -- they came together.

        16                     And so this is part of what we do every

        17    time that we talk with an informant.            And this would

        18    apply to anyone that we interviewed in this case.

        19    It is also the case that the term "semistructured,"

        20    which I used to describe -- not I use -- the

        21    literature use to describe those particular

        22    instruments -- it has a very specific meaning and
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                                                                          Page 143
         1    requires a great deal of training in order for you

         2    to use it in a valid fashion.

         3                     So those instruments are not rating

         4    scales.     I made sure that I told you what a rating

         5    scale was, and those things are not rating scales in

         6    which you receive a set of questions and you say

         7    yes, no, or maybe you put yourself on a given scale.

         8                     A semistructured interview is a

         9    situation -- is a clinical situation in which I have

        10    what should be felt by you, as the person that I'm

        11    having the conversation or a play session, or

        12    something like that, as something more natural,

        13    something that will be closer to the way that you

        14    are in typical situations outside of my interview.

        15                     Now, while I am eliciting, sometimes

        16    with open-ended questions, that kind of information,

        17    you're telling me things; you're giving me

        18    information.

        19                     Now, you are not telling me this person

        20    has a particular technical term -- by "technical

        21    term," I mean something -- what I want in those

        22    interviews with informants is I want, as much as
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                                                                          Page 144
         1    possible, very concrete observations of every day

         2    situations that they can tell me so that I can use

         3    those things in order to subsequently complete a set

         4    of, again, standard items with very detailed and

         5    specific criteria so that I can rate.

         6                     So I'll never ask a person a direct

         7    question, and I use that information to complete a

         8    semistructured interview.          I elicit general

         9    information as much as possible, as rich as

        10    possible.     And on the basis of that information, I

        11    then translate myself, because I know what I'm

        12    looking for, into specific scores in a particular

        13    form.

        14             Q.      What do you do in the situation -- in

        15    the situation where you -- and let's use Dr. Wright

        16    as our example --

        17             A.      Please.

        18             Q.      -- what do you do in a situation -- if

        19    you ask Dr. Wright, in the context of a

        20    semistructured interview, a question and he gives

        21    you an answer, but then that answer is not

        22    consistent with the overall perception you're
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                                                                          Page 191
         1    is a man who uses his -- his 20 volumes of the

         2    Oxford Dictionary in the way that we used to use

         3    maybe the yellow pages.         He goes to that all the

         4    time.

         5                     He seems to -- he seems to require to

         6    understand every single possible meaning, including

         7    the historical meanings, of a word so that he

         8    scrolls and he finally gets to -- hopefully, to what

         9    might be the colloquial meaning of a word.

        10                     Needless to say, he can do this kind of

        11    research as much as he wants, but he's -- if he's

        12    unable to -- to use the intention of the person

        13    communicating with him, he's going to be wrong many,

        14    many, many different times.

        15                     And the reason I say "interesting" is

        16    because that e-mail -- it was an illustration of --

        17    of a style that his wife told me about that I

        18    observed reading the transcripts, that I -- I

        19    observed when I looked at the video depositions and

        20    that he used with me as well.

        21                     Formal language is extraordinarily

        22    important to him, but it's a minefield, because just
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                                                                          Page 192
         1    like his style in other areas, it creates too many

         2    details, and he never graduates from those details

         3    into gist, into context, into meaningful

         4    communication, into something that other people are

         5    expecting from him.

         6                     So, absolutely, this is -- I've had

         7    quite a few adult patients who -- who sort of took

         8    issue with words that should be apparent -- the

         9    meaning of those words should be apparent to

        10    children as young as 4 or 5.

        11             Q.      Dr. Klin, what did you do to make sure

        12    that Dr. Wright was not putting on an act for you?

        13             A.      How -- how to address that question?

        14             Q.      Yes.

        15             A.      I started in the field maybe 35 years

        16    ago.    I've seen thousands of people with that

        17    condition.      I started in this field actually living

        18    in a residential unit for individuals of autism for

        19    three years.

        20                     To put on an act requires a level of

        21    social sophistication and perspective-taking that

        22    was just not there.
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                                                                          Page 216
         1    believe that for someone that you're evaluating for

         2    autism, I bet that no experienced clinician would

         3    base a diagnosis on this video clip.            Because there

         4    are so many things that can go into preparing an

         5    individual for any stage appearance, and if you have

         6    a decontextualized example of that behavior, it is

         7    not necessarily going to tell you if those things

         8    were historically present in the life of that

         9    individual or they're even typical of that

        10    individual when he has no interest to gain.              And

        11    that's most of our lives.

        12                     Most of our lives, we're not in front

        13    of the camera; most of our lives, we are -- we're

        14    interacting -- we're interacting with our family

        15    members, with our spouses, or with coworkers, or

        16    with others.

        17                     So I would not use a clip from a

        18    V -- may I just tell you one thing?            And this may

        19    actually -- has to do with the way that I interacted

        20    with the attorneys who engaged me in the first place

        21    after I -- I watched that video clip of three to

        22    five minutes.
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                                                                          Page 227
         1          of concrete observations that we needed

         2          about him when he was in school, for

         3          example.

         4                     So the people I talked to were

         5          people that -- in essence, I decided who

         6          they're going to be on the basis of the

         7          information provided to me.

         8                     BY MR. BRENNER:

         9             Q.      And when you got done with that full

        10    assessment that you just went through and you set

        11    out -- you set forth in your report, you did not

        12    then go back and try to find -- look at publicly

        13    available information to see if it's consistent with

        14    what you learned during your assessment, correct?

        15             A.      That is correct.       And most clinicians

        16    like myself don't like the idea of conducting

        17    clinical work by looking at media materials or

        18    things of that nature, because part of the

        19    methodology used in gold standard clinical

        20    evaluations is a setting that you have some control

        21    over.

        22                     That's why when people say that
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                                                                          Page 228
         1    Mr. Trump has a particular mental illness, this and

         2    that, they're often discredited by others because

         3    you don't conduct those kinds of -- you shouldn't

         4    even state those kinds of impressions on the basis

         5    of that kind of information.

         6             Q.      Okay.    I'm going to play the video now

         7    to the end.

         8                     (Video is played.)

         9                     BY MR. BRENNER:

        10             Q.      I'll represent to you -- which I think

        11    to be correct -- that the video is from -- let me

        12    use -- it's off the screen, right?

        13             A.      Yes, it is.

        14             Q.      Okay.    I'll represent to you that my

        15    understanding is that video is from May or June of

        16    2019.    I think it's actually from May and uploaded

        17    in June, which, just for the record, is between the

        18    time of the deposition you -- you reviewed of

        19    him and -- well, let me rephrase that.

        20                     May or June 2019 is the period of

        21    time in between when the deposition you reviewed

        22    was taken and the court testimony you reviewed was
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                                                                          Page 277
         1    the structured interview, or does the interviewee

         2    fill them in?

         3             A.      Oh, no.    Oh, no.     This is not a rating

         4    scale, very much like the ADI.           This is a

         5    semistructured interview, and Sara Sparrow was very

         6    particular about that.         And I know that Celine is

         7    just as strict a person.

         8                     What you see here basically on this

         9    form -- you only see the items, but that's -- you

        10    don't read the items to anybody.           There is a manual

        11    that goes with it.        And what you do is you ask a

        12    particular open-ended question to elicit

        13    information.      On the basis of the information that

        14    people provide to you -- you, yourself, you score

        15    each one of the items, and you probe further if the

        16    person did not provide you information sufficient to

        17    complete some items.

        18             Q.      Right.    You have the right to answer

        19    the questions any way you want.           I would ask -- and

        20    if you can't do it, you can't do it -- I would like

        21    you to try to focus on my question.            I'm not asking

        22    you why it's done a certain way; I wanted you to let
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                                                                          Page 278
         1    me know who fills it in, the doctor or the patient.

         2             A.      Oh.     It is -- my apologies.

         3             Q.      That's okay.

         4             A.      You just want to know who is the person

         5    who conducts this.         It is the clinician.

         6             Q.      Okay.     So I'm going -- you made a

         7    reference in your answer -- I think you're referring

         8    to the Vineland interview form which was part of the

         9    exhibit we've marked as the binder.            So I'm going to

        10    pull that up, if you give me a second.

        11                     Okay?

        12             A.      Sure.

        13                     (Pause.)

        14                     BY MR. BRENNER:

        15             Q.      Okay.    So this is part of the

        16    exhibit -- the binder exhibit.           It starts on -- what

        17    I have on the screen is Page 60.

        18                     And I think this is what you're

        19    referring to as the "interview form," the first

        20    page of it?

        21             A.      Yes, it is the first page of the

        22    comprehensive interview form.           There are several
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                                                                          Page 368
         1    an actual score for all of these things?

         2             A.      I have -- the way that the ADOS is used

         3    is the clinically -- the gold standard clinical

         4    judgment using the ADOS makes use of its algorithm

         5    scores -- his total scores, not item by item.               The

         6    validity of an instrument is maximized by using the

         7    totality of information and not any of the items in

         8    isolation.

         9             Q.      Okay.    We'll look at that -- we'll look

        10    at what the actual algorithm is in a second.

        11                     What's Number 6?

        12             A.      That would be a 1.

        13             Q.      Okay.    Seven?

        14             A.      It would be a 1.

        15             Q.      Okay.    There was a time in this case

        16    where you filled these out, right?            There's actually

        17    a sheet of paper that existed with your numbers in

        18    these boxes, right?

        19             A.      There will be a form just like this

        20    with not only the scores but a million notes.

        21             Q.      And a million notes.

        22                     And you threw them all away?
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                                                                          Page 389
         1    that sense.

         2                     This is the way this man is.          This is

         3    the way he behaves not only in a court of law or in

         4    a deposition room, but this is the way he seems to

         5    be in his own home with his own beloved folk.

         6             Q.      Are you -- I'm sorry.        Are you done?

         7             A.      I'm done.

         8             Q.      Okay.    Are you recommending that any --

         9    any special procedures be put in place to -- to

        10    govern Dr. Wright's testimony at trial?

        11             A.      No.

        12             Q.      Are you recommending that he be treated

        13    differently than any other litigant is treated in

        14    the courts of our country?

        15             A.      The answer is yes.

        16                     May I explain?

        17             Q.      Of course.

        18             A.      The reason why people consider me an

        19    expert is because the presentation of individuals

        20    with autism, particularly those with high intellect,

        21    is not immediately obvious to people who don't have

        22    the expertise in that area.
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                                                                          Page 390
         1                     If Dr. Wright was blind and you asked

         2    me that question, I would say that that individual

         3    should be treated differently than everybody else

         4    because that individual has what society calls "a

         5    disability"; he doesn't see.

         6                     So in that way, I am asking for you to

         7    treat that individual who is blind or deaf

         8    differently than most others.

         9                     Dr. Wright is not deaf, is not blind,

        10    and his very presentation is probably his worst

        11    enemy because he conveys a sense of

        12    supreme competence as he speaks.           I would like for

        13    people to believe that when he is transgressing the

        14    rules of common sense, the laws and conventions of

        15    social interaction, when he's being pedantic, when

        16    he is reciting lectures and when he is giving you

        17    histories of words, that he's not doing that

        18    contemptuously.       He's not doing that as a way of

        19    being evasive.       He is not deliberately contriving

        20    falsehoods in this regard.          This is the way he is.

        21                     Because if people understand that

        22    despite his high intellect, there are areas in his
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                                                                          Page 391
         1    being -- in his being in the world that are

         2    profoundly deficient.        People will judge him by the

         3    facts, but they are not going to have impressions

         4    that are going to be detrimental to his

         5    presentation, things that were not deliberate --

         6    they were not created for the purpose of deceit.

         7                     That's all I need.       I need him to be

         8    treated on the basis of whatever are the technical

         9    facts of this case.        But sometimes people go beyond

        10    the facts, and they judge the person.             And he is a

        11    person that -- as he put it himself, he is not good

        12    with people.      People don't like him.        He doesn't

        13    think about people.        And that can be very

        14    detrimental to his legal standing, particularly

        15    within the context of a jury proceeding, which I

        16    assume is what you're going to have, when people are

        17    going to look at him and they are going to have

        18    disdain for a man who comes across as -- as

        19    arrogant, as self-centered, as inhumane, almost, as

        20    if his pursuit is more important than the people

        21    that he affected in his life.

        22                     This is the way he is.        That is his
